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                       IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF IDAHO

VIRGIN MOBILE USA, LLC,
                                                  Case No. 06-00511-S-EJL
                              Plaintiff,

               v.

BLUE OCEANS DISTRIBUTING, LLC
(d/b/a BLUE OCEANS DISTRIBUTORS),
MIDWAY DISTRIBUTOR LLC (d/b/a
MIDWAY DISTRIBUTING), PETER
BABICH (a/k/a PIOTR BABICHENKO),
TIM BABICHENKO, and PAVEL “PAUL”
BABICHENKO,

                              Defendants.


                               FINAL JUDGMENT AND
                        STIPULATED PERMANENT INJUNCTION

       Plaintiff Virgin Mobile USA, LLC (“Virgin Mobile”) and Defendants Blue Oceans

Distributing, LLC (d/b/a Blue Oceans Distributors), Midway Distributor LLC (d/b/a Midway

Distributing), Peter Babich (a/k/a Piotr Babichenko), Tim Babichenko, and Pavel “Paul”

Babichenko (collectively “Defendants”), having entered into a settlement and having resolved all

issues in this action (the “Action”), and having as part of their settlement stipulated to the entry

of this Agreed Permanent Injunction, the Court enters the following Order:

                                 PERMANENT INJUNCTION

       Defendants (and their officers, directors, employees, agents, representatives, and all

others acting in concert with Defendants) are permanently enjoined from, directly or indirectly,

(a) purchasing, or offering to purchase, Virgin Mobile-branded handsets, or inducing purchasers



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of such handsets to resell those handsets to Defendants; (b) reselling, offering to resell, or

shipping Virgin Mobile-branded handsets; (c) hacking and reprogramming, or otherwise altering

Virgin Mobile-branded handsets, or inducing or assisting others to do so; and/or (d) repackaging,

shipping, distributing, selling, or reselling Virgin Mobile-branded handsets.

                                      OTHER MATTERS

       1.      Each party shall bear its own costs and attorneys’ fees.

       2.      This Agreed Permanent Injunction shall constitute the final judgment in this

               Action as against Defendants.

       3.      Defendants’ Counterclaims are dismissed with prejudice pursuant to Rule

               41(a)(2) of the Federal Rules of Civil Procedure.

       4.      This Action having been concluded in all respects, the Clerk is directed to mark

               this matter closed.

       5.      This Court retains jurisdiction to enforce this injunction.



                                               DATED: February 28, 2007




                                               Honorable Edward J. Lodge
                                               U. S. District Judge




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